                Case 1:23-cv-01611-RDM Document 64 Filed 10/16/23 Page 1 of 4




                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA



 NORWICH PHARMACEUTICALS, INC.,

                                                Plaintiff,

         v.

 XAVIER BECERRA, in his official capacity as Secretary             Civil Action No. 1:23-cv-01611-RDM
 of Health and Human Services, et al.,

                                             Defendants,

         and,

 SALIX PHARMACEUTICALS, INC.,


                                  Intervenor-Defendant.



                PLAINTIFF’S RESPONSE TO INTERVENOR SALIX
         PHARMACEUTICALS, INC.’S NOTICE OF SUPPLEMENTAL AUTHORITY

       The stipulation and order of noninfringement from the Delaware proceeding has no bearing on

the central issue before this Court, i.e., whether FDA’s decision to delay the approval of Norwich’s

Amended ANDA based on the Delaware Court’s 271(e) order was arbitrary and capricious. The

statutory 30-month stay of FDA approval of the ANDA expired in August 2022, and the status of the

patents that Salix elected to not assert at trial therefore was (and still is) irrelevant to FDA’s application

of the 271(e) order to Norwich’s Amended ANDA. For example, FDA made no reference to the

stipulation in its letter granting Tentative Approval to Norwich’s Amended ANDA (see AR365-70)

despite having received it. See AR373. In short, Norwich does not require a judgment or stipulation of

noninfringement as to the patents that Salix did not assert at trial in order for FDA to correctly determine

that the 271(e) order does not block approval of the Amended ANDA.
             Case 1:23-cv-01611-RDM Document 64 Filed 10/16/23 Page 2 of 4




       Furthermore, while Salix contends that the stipulation “no longer applies to Norwich’s Amended

ANDA,” (DI 62 at 1), Norwich’s amendment did not “change the indications of use” but rather carved

out the HE Indication wholesale. Of course, the applicability of the stipulation is not an issue before the

Court. And, even if there were no stipulation, Norwich would be entitled to a judgment of

noninfringement on the “unasserted” patents.1 As the stipulation itself makes clear, Salix did assert

these patents in its Complaint and Norwich counterclaimed. DI 62-1 at 1-3. At trial, however, Salix

elected to “not present evidence of infringement” of any claim in the patents. Id. at 2. Salix thereby

“voluntarily narrowed the case to its best patents” and is “not entitled to a second trial on the unselected

patents.” Nuance Commc’ns, Inc. v. ABBYY USA Software House, Inc., 813 F.3d 1368, 1374, 1376

(Fed. Cir. 2016) (affirming judgment of noninfringement as to patents asserted in complaint but not at

trial). In any event, Salix is free to attempt to assert any non-frivolous and non-foreclosed patent claims

against Norwich’s Amended ANDA. But any such claims cannot impact FDA’s consideration of the

Delaware Court’s 271(e) order, which is the issue here.

       Finally, Salix’s suggestion that Norwich might file its Amended ANDA as a new ANDA (to

obtain a different ANDA number) and be subject to a second 30-month stay is antithetical to the intent

and purpose of the Hatch-Waxman Act. Congress enacted Hatch-Waxman in order to bring “‘generic

… drugs to market as quickly as possible.’” Teva Pharms. USA, Inc. v. Novartis Pharms. Corp.,

482 F.3d 1330, 1344 (Fed. Cir. 2007) (quoting Sen. Kennedy Remarks, 149 Cong. Rec. S15885

(Nov. 25, 2003)). As Congress intended, Norwich successfully challenged Salix’s patents covering the

rifaximin polymorph and the IBS-D Indication, and then followed FDA’s regulation and amended the

ANDA to remove the infringing HE Indication. Salix, on the other hand, is apparently hoping to game



1
 The stipulation was entered more than a month after trial concluded to resolve Norwich’s proposed
motion pursuant to Federal Rule of Civil Procedure 52 and counterclaims of noninfringement.

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                Case 1:23-cv-01611-RDM Document 64 Filed 10/16/23 Page 3 of 4




the system to further delay generic competition. But, there is no basis in the statute, FDA regulation,

patent law, public policy, or common sense, for imposing 60 months of statutory delay on Norwich’s

generic rifaximin product for IBS-D.2


    Dated: October 16, 2023                   Respectfully submitted,

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2
 While irrelevant to the issue before the Court, Salix’s contention that it “would also assert claims from
any additional patents that have issued since the Delaware judgment” (DI 62 at 2) should be viewed with
some skepticism given that it has yet to assert U.S. Patent No. 11,564,912, despite receiving a Notice of
Paragraph IV Certification from Norwich in April 2023.
                                                    3
            Case 1:23-cv-01611-RDM Document 64 Filed 10/16/23 Page 4 of 4




                                   CERTIFICATE OF SERVICE

       The undersigned counsel herby certifies that on October 16, 2023, the foregoing document was

electronically filed with the Clerk of the Court using the CM/ECF system, and that a copy was served

upon counsel of record via the Court’s CM/ECF system.



                                            /s/Chad A. Landmon
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